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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )

      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT C




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         Case 4:20-cv-00980-KPJ Document 57-3 Filed 12/13/21 Page 2 of 4 PageID #: 2923




                                  RISION, LTD - OVERWATCH/BIOEYE
                                        CORPORATE PRESENTATION
VERWATEH                                             July 2020
Digital Health
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Case 4:20-cv-00980-KPJ Document 57-3 Filed 12/13/21 Page 4 of 4 PageID #: 2925




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